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                           UNITED STATED DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: FEMA TRAILER                                  MDL NO. 1873

FORMALDEHYDE PRODUCTS                                SECTION: N(4)

LIABILITY LITIGATION

THIS DOCUMENT RELATES TO:                            JUDGE ENGELHARDT
ALL SOUTHERN DISTRICT OF                             MAG. JUDGE ROBY
MISSISSIPPI CASES LISTED IN
“EXHIBIT A”, ATTACHED HERETO


                                            ORDER

       UPON review of the Court and for good cause shown, it is hereby ORDERED that Lacey

M. Moore is withdrawn as counsel of record in the cases listed in Exhibit A to this Order.




Date:_______________                         By:_____________________________________
                                             HONORABLE . KURT D. ENGELHARDT
                                             UNITED STATES DISTRICT JUDGE
Case 2:07-md-01873-KDE-MBN Document 14515-2 Filed 06/24/10 Page 2 of 2




                              EXHIBIT A

       PLAINTIFF        MSSD CASE NUMBER        LAED CASE NUMBER
MICHAEL HERBERT         1:09-CV-836-HSO-JMR     2:10-cv-00911-KDE-ALC
MARY HAWKINS            1:09-CV-837-HSO-JMR     2:10-cv-01361-KDE-ALC
ROSEMARY COLEMAN        1:09-CV-838-HSO-JMR     2:10-cv-00912-KDE-ALC
ROBERT MESHELL          1:09-CV-839-HSO-JMR     2:10-cv-01362-KDE-ALC
GLORIA OTIS             1:09-CV-840-HSO-JMR     2:10-cv-01363-KDE-ALC
KATHLENE MURRAY         1:09-CV-841-HSO-JMR     2:10-cv-01043-KDE-ALC
BETTY CARTER            1:09-CV-842-HSO-JMR     2:10-cv-00913-KDE-ALC
KENYA HAWKINS           1:09-CV-843-HSO-JMR     2:10-cv-01364-KDE-ALC
DELORIS BOOTH           1:09-CV-844-HSO-JMR     2:10-cv-01365-KDE-ALC
TYESA HAWKINS           1:09-CV-845-HSO-JMR     2:10-cv-00914-KDE-ALC
TANYA BOOTH             1:09-CV-846-HSO-JMR     2:10-cv-00916-KDE-ALC
ERIK LANDRUM            2:09-CV-273-HSO-JMR     2:10-cv-00484-KDE-ALC
JAMES P. CLARK          2:09-CV-274-HSO-JMR     2:10-cv-00485-KDE-ALC
JERRY MARKHAM           2:09-CV-275-HSO-JMR     2:10-cv-00486-KDE-ALC
NEKEIDRA PARKER         3:09-CV-789-HSO-JMR     2:10-cv-00488-KDE-ALC
ROSALINE NARCISSE       3:09-CV-790-HSO-JMR     2:10-cv-01405-KDE-ALC
PAMELA GARNER           3:09-CV-791-HSO-JMR     2:10-cv-00489-KDE-ALC
T. L. MAY               3:09-CV-792-HSO-JMR     2:10-cv-01406-KDE-ALC
SHAMAR BEASLEY          3:09-CV-793-HSO-JMR     2:10-cv-01502-KDE-ALC




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